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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                           *            CRIMINAL NO.20-65

                v                                  rF
                                                                SECTION:      "L"
WILLIAM J. BURNELL                                 +


                                            *      *        *

                                           FACTUAL BASIS

        l.      Defendant,   WILLIAM J. BURNELL ("BURNELL"), has indicated that                           he

intends to plead guilty to Count One, that is conspiracy to commit bank fraud, in violation          of   18

U.S.C. $$ 1344 and 1349, of the Second Superseding Indictment pending against him.

        2.      The United States and     BURIIELL do hereby stipulate        and agree that the following

facts are true and correct and that, should this matter have proceeded to trial, the Government

would have proven them beyond a reasonable doubt, through the introduction of competent

testimony and admissible tangible and documentary exhibits. The Factual Basis does not attempt

to set forth all of the facts known to the United       States regarding the allegations   in the Second

Superseding Indictment. The limited purpose        of this Factual Basis is to demonstrate that there

exists a sufficient legal basis for   BURNELL's guilty plea. By their signatures below, the parties

expressly agree that there is a factual basis supporting BURNELL's guilty plea. The parties also

agree that this Factual Basis may, but need not, be used by the United States Probation Office and

the Court in determining the applicable advisory guideline range under the United                   States

Sentencing Guidelines or the appropriate sentence under         l8 U.S.C.   $ 3553(a).

        3   .   From May 2006 through April 201 7, First NBC Bank was a financial institution, as

defined in Title 1 8, United States Code, Section 20, and a member of the Federal Deposit Insurance

Corporation ("FDIC") with federally insured deposit amounts.

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        4.     First NBC Bank was established in 2006, with its headquarters in New Orleans,

Louisiana, within the Eastern District      of Louisiana, and with branch offices in    Louisiana,

Mississippi, and Florida.

        5.     First NBC Bank was the wholly-owned subsidiary of First NBC Bank Holding

Company. Beginning in May 2013, First NBC Bank Holding Company was a publicly-traded

company listed on the NASDAQ stock exchange. On         April 28,2017, First NBC Bank was closed

by the Louisiana Office of Financial Institutions ("LOFI").

        6.     Ashton J. Ryan, Jr. ("Ryan"), was a founder of First NBC Bank and acted as its

President and Chief Executive Officer from on or about May 2006, until on or about December

2016. Ryan was responsible for developing and executing the Bank's strategic plan, overseeing all

of the Bank's affairs, and managing the Bank's day-to-day operations. Additionally, Ryan was

responsible for keeping members of the Bank's Board of Directors ("the Board") informed of the

Bank's true financial condition, the adequacy of its policies and procedures, and its internal

controls.

        7.     From in or around 2006 through April 2017, BURIIELL was employed by First

NBC Bank as its Chief Credit Officer, and was responsible for, among other things, the overall

quality of the Bank's lending function; the Bank's credit policies and administration; the Bank's

loan recovery and collection efforts; and the Bank's monitoring and managing of past-due loans,

including the approval of the Bank's internal list of past-due loans. BURNELL was responsible

for compiling month-end reports, including lists of overdrawn borrowers and past-due loans. These

reports should have accurately shown the quality          of the Bank's   assets, including loans.

Misrepresentations on these reports would have frustrated attempts at making a true assessment   of
the Bank's overall financial well-being.   BURNELL was also responsible for assigning risk ratings

before the Bank issued loans to its customers. In the Bank's risk rating system, a "10" meant very

low risk of loss to the Bank, while a "l" meant a high risk of loss to the Bank. From 2006 through
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April2017, BURNELL received compensation from the Bank of approximately $3,528,738.00.

        8.       From in or around 2006 through April 2017, Robert B. Calloway ("Calloway") was

employed by First NBC Bank as an Executive Vice President and served as a commercial

relationship manager with tax credit specialization.

        9.       From in or around 2009 through February 2017,Fred V. Beebe ("Beebe") was

employed by First NBC Bank as a Senior Vice President and as a commercial relationship

manager.

        10.      As a financial institution, First NBC Bank was subject to regulatory supervision by

the FDIC and LOFI, charged with supervising and regulating First NBC Bank to ensure that the

Bank engaged in safe and sound banking practices and complied with federal and state banking

laws.

        I   l.   First NBC Bank was also required to submit to periodic safety and soundness

examinations conducted       by the FDIC and LOFI. First NBC Bank was required to repoft
information regarding past-due loans to the FDIC and LOFI in advance of these examinations,

which affected the regulators' conclusions regarding the Bank's financial condition.

        12.      In addition, First NBC Bank engaged extemal auditors tasked with evaluating the

accuracy of the Bank's financial statements related to, among other things, the Bank's loan

portfolio and investments.

                                  Garv Gibbs Loan Relationship

        13.      From in or around 2008 through in or around April2017, Gary Gibbs was a real

estate developer and borrower at First   NBC Bank, both individually and through his numerous

entities. Calloway was Gibbs's loan officer. Ryan served   as the   approving officer on Gibbs's loans,

and BURIIELL approved the credit risk rating. BURI\ELL, Ryan, and Calloway periodically

discussed Gibbs's loans with each other, with other Bank employees, and at Board, Board Loan

Committee, and Senior Loan Committee meetings.
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        14.    From at least the summer of 2012 in Gibbs's borrowing relationship, BURIIELL,

Ryan, and Calloway knew that Gibbs's entities did not generate sufficient income to make Gibbs's

loan payments. Despite this knowledge, BURNIELL, Ryan, and Calloway approved loans to Gibbs

to pay Gibbs's and other borrowers' overdrafts and existing debt service, which artificially kept

Gibbs offmonth-end reports that BURNIELL approved and submitted to the Board. In an effort to

avoid or minimize Gibbs's appearance on the overdraft and past-due reports, BURI\ELL, Ryan,

and Calloway made misrepresentations and material omissions regarding Gibbs's creditworthiness

and financial status.

        15.    For example, BURIIELL, Ryan, and Calloway signed dozens of loan documents

over several years that assigned a false and inaccurate credit risk rating to Gibbs and his entities.

In many of these loans, Gibbs and his entities were assigned a credit risk rating of "5," when in

truth and in fact, BURNELL, Ryan, and Calloway knew they should have rated the Gibbs

relationship a"3" or lower, which would have resulted in greater scrutiny.

        16.     For example, on or about August24,2012,        BURI{ELL, Ryan,     and Calloway made

false statements and material omissions in Gibbs's loan documents related to, among other things,

the purpose of the loan and the source of repayment, causing        $l million in loan proceeds to be
disbursed to Gibbs. Approximately $l 17,574 of those loan proceeds were used to pay Borrower

F's loans.

        17.     On or about December 28,2012, BURI\ELL, Ryan, and Calloway made false

statements and material omissions in Gibbs's loan documents related to, among other things, the

purpose of the loan and the source of repayment, causing   $   150,000 in loan proceeds to be disbursed

to Gibbs. Approximately $71,776 of those loan proceeds were used to pay Borrower F's loans.

        18.     On or about February 21,2013, BURIIELL, Ryan, and Calloway made false

statements and material omissions in Gibbs's loan documents related to, among other things, the

purpose of the loan and the source of repayment, causing $1 million in loan proceeds to be
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disbursed to Gibbs. A portion of those loan proceeds were used to pay Borrower F's loans.

         19.     By the end of 2016, Gibbs's borrowing relationship had become one of the largest

in the Bank's loan portfolio. Despite the numerous risks associated with Gibbs's loans and the

substantial threat Gibbs's borrowing relationship posed to the Bank, BURNELL, Ryan, and

Calloway continued to approve and facilitate Gibbs's loans, and they concealed the truth regarding

Gibbs's inability to pay his loans despite knowing that Gibbs did not have the ability to repay his

loans.

                              Kenneth Charitv Loan Relationship

         20.     Kenneth Charity was the owner of residential and commercial properties in theNew

Orleans area. In or around 2007, he became a borrower at First NBC Bank. Ryan was Charity's

loan officer.

         21.     Ryan kept Charity and his related entities off the overdraft and past-due loan lists

by directing his employees to keep a "cheat sheet." The cheat sheet helped Ryan determine the

amount of loan proceeds Charity needed to cover loan payments and overdrafts by month-end so

Ryan could keep Charity off the month-end reports. BURNELL, Ryan, and others continued to

lend money to Charity despite the poor quality of Charity's loans, which delayed the Bank

downgrading or writing off the loans.

         22.     BURNELL     and Ryan knew that Charity lacked sufficient cash flow to pay his loans

at the Bank.    BURI\ELL and Ryan were aware that Charity did not spend, and demonstrated         no

interest in spending, the loan proceeds for their approved purpose.

         23.     Nominee D was a friend of Charity's and his business partner on certain real estate

projects. Nominee D was also a guarantor on many of Charity's loans. Nominee D did not have a

deposit account at the Bank and did not have signature authority on any accounts associated with

Charity.


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         24.    BURNELL and Ryan instructed Bank employees to process loans where Nominee

D was a guarantor without receiving additional signatures from Nominee D. Neither BURIIELL

nor Ryan disclosed these practices to the Board, auditors, or examiners.

         25.    Charity purchased a commercial real estate space at 620 Decatur Street in the

French Quarter with Bank loan proceeds in July 2008. In or around January 201l, Ryan arranged

for another Bank borrower, Borrower J, to rent space from Charity at 620 Decatur Street for

approximately $20,000 per month. This arrangement ensured that Charity appeared to have a stable

source   of income to support his loans. Borrower J operated a beignet shop in the rented space.

Beebe was Borrower J's loan officer.

         26.    In or around October 2013, Borrower J made his last loan payment to the Bank and

stopped paying rent to Charity.    BURNELL, Ryan, and St. Angelo then arranged for the Bank to

take over the beignet shop from Borrower J and make monthly payments to Charity. In or around

February 2014, BURNIELL opened an account at the Bank to operate the beignet shop. This

account was controlled by BURNELL and Ryan. Beginning               in or   around   April 2014   and

continuing through in or around March 2017, BURIIELL and Ryan caused the Bank, as keeper

of the beignet shop, to pay $20,000 in rent every month to Charity, despite knowing that the beignet

shop did not generate sufficient revenue to support its monthly rent, let alone its other operating

expenses. The beignet shop's account was routinely overdrawn and presented to the Board            of
Directors due to the overdrafts.

         27.    Ryan made misrepresentations to the Board Loan Committee about the beignet

shop's profitability and value. Further, when the Bank's beignet shop account was overdrawn at

the end of 2014, BURNELL and Ryan arranged for approximately           $ 171   ,000 to be drawn from

Borrower J's dormant line of credit to clear the overdraft. BURNELL, Ryan, and Beebe refused

to write off Borrower J's loans, even after Borrower J was convicted of fraud and sentenced to

prison. When the Bank failed, the beignet shop's account was overdrawn by more than $200,000.
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       28.      Moreover, from in or around August 2014, through in or around December 2016,

Ryan issued four loans to Charity for the purported purpose of enclosing the patio area at the

beignet shop. BURIIELL approved the credit risk rating for each of the four loans. In four

instances-in or around August 2014, December 2015, March 2016, and August 2016-

BURIIELL and Ryan       caused Bank funds     to be disbursed for the full costs of the same patio

enclosure which BURNELL and Ryan knew was never enclosed. The four loans totaled

approximately $1.5 million. Several loan documents stated that the enclosure would generate

additional revenue for the beignet business and increase the value of the real estate. In truth and in

fact, and as BURIIELL and Ryan knew, the loan proceeds never went to the patio enclosure.

Rather, as   BURIIELL   and Ryan knew, the money went to make loan payments and pay overdrafts.

                             Gresorr St. Aneelo Loan Relationship

        29.     From 2006 through September 2016, Gregory St. Angelo was the Bank's General

Counsel. St. Angelo and his entities were borrowers at the Bank from 2006 through        April 2017.

Ryan was the loan officer for St. Angelo and his entities.   BURNELL participated with Ryan in

decisions affecting the St. Angelo loans and monitored St. Angelo's overdrafts and past-due

payments.

       30.      BURIIELL     and Ryan made misrepresentations and omitted material information

from the Board, auditors, and examiners about St. Angelo's financial status and creditworthiness.

       31.      For example, BURIIELL and Ryan directed Bank employees to track monthly

payments due on St. Angelo's loans and overdrafts in his accounts. After reviewing these reports,

BURNELL would notiff St. Angelo and Ryan of the amount needed to clear St. Angelo's

accounts. Ryan would then issue loans to St. Angelo and his entities in order to clear St. Angelo's

accounts, which were often overdrawn by hundreds of thousands of dollars, and make payments

on other loans. This practice was designed to prevent St. Angelo from being exposed to the Board,

auditors, and examiners as being a loan default risk.
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       32.     From at least 2009 through 2015, Ryan caused the Bank to make false and

fraudulent investments in fake tax credits for St. Angelo's projects at 622 Conti Street and 616

Girod Street in New Orleans and Annadele's Restaurant in Covington. Ryan                  instructed

BURNELL to use the tax credit investment money to pay St. Angelo's loans and cover               St.

Angelo's overdrafts at the Bank.

       33.     Additionally, BURIIELL and Ryan used St. Angelo's loan proceeds to pay other

borrowers' debts or, alternatively, used other borrowers' loans to pay St. Angelo's debt. For

example, from in or around June 2009 through December 2013, BURNELL and Ryan caused

Nominee A's loans to be disbursed to St. Angelo's accounts to cover overdrafts and make loan

payments on St. Angelo's loans. BURNELL and Ryan did not disclose in the loan documents for

Nominee A's loans that they were used for St. Angelo's benefit. BURI\ELL and Ryan did not

disclose in Bank documents that St. Angelo was paying other borrowers' debts.

                             Frank Adolph Loan Relationship

       34.     From in or around August 2008 through April 2017,Frank Adolph was a borrower

at the Bank. Adolph operated Metro Rediscount, a business that bought other companies' accounts

receivable. Adolph submitted a certificate to the Bank listing Metro Rediscount's accounts

receivable, and that certificate was included    in loan documents to support Adolph's        loans.

Although BURI\ELL and Ryan were not Adolph's loan officers, Ryan signed Adolph's loan

documents as an approving officer, and BURNELL approved the credit risk rating.

       35.     Adolph fabricated Metro Rediscount's accounts receivable by listing companies

that had never done business with Metro Rediscount or that had not done business with Metro

Rediscount for years. In or around August 2013, Adolph's loan officer hired an outside auditor to

audit Adolph's accounts receivable on the certificate that Adolph provided to the Bank. Despite

being put on notice by the auditor that the self-described accounts receivable did not exist, Adolph

continued to use the same false information in subsequent certificates he submitted to the Bank.
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         36.   Between in or around October 2013 and February 2014, Adolph's loan officer

alerted BURNELL and Ryan about Adolph's fraudulent accounts receivable and warned them

that Adolph was living beyond his means and could not pay his debt to the Bank. Despite their

knowledge of Adolph's fraudulent representations to the Bank, BURNELL and Ryan approved

additional loans for Adolph and failed to alert the Board, auditors, or examiners about Adolph's

fraudulent accounts receivable. Moreover, the stated purpose of many of the loans was to finance

the working capital needs of Metro Rediscount or to finance Metro Rediscount's accounts

receivable, which   BURNELL      and Ryan knew were fraudulent.

                                Warren Treme Loan Relationship

         37.   Prior to the founding of the Bank, Treme was a borrower at a different bank (Bank

B) where Ryan was President. Ryan and Treme were partners in several           business ventures,

including Wadsworth Estates. From at least April 2008, Treme was a borrower at First NBC Bank.

         38.   BURNELL played a significant role in Treme's lending relationship. Because of

Ryan and Treme's business relationship, Beebe served as the loan officer for Treme's loans, while

BURNELL served as the approving oflicer and assigned the credit risk rating. BURNELL's

involvement as the approving officer gave the false impression that BURIIELL was providing a

meaningful check on Ryan's authority at the Bank. In reality, Ryan continued to exercise influence

over Treme's loans, while BURIIELL and Beebe concealed Ryan's involvement in the Treme

loans.

         39.   From in or around June 2014 through April2017, BURNELL, Ryan, and Beebe

diverted loan proceeds to Ryan and Treme's co-owned business knowing that Treme lacked

sufficient income to pay his debts to the Bank. Further, BURIIELL, Ryan, and Beebe knew that

Treme was using loan proceeds on personal expenses or to make loan payments, contrary to the

stated purposes of the loans.


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          40.   For example, in or around June 2014, Beebe informed BURNELL that Treme was

"tired of being poor." Beebe told BURIIELL that Treme wanted Beebe to find a way to give

Treme $50,000. Days later, on or about June 19, 2014, BURNELL and Beebe approved an

approximately $910,000 loan for Treme, with approximately $140,000 in new funds. BURI\ELL

and Beebe approved this loan, and   BURIIELL fraudulently approved the credit risk rating of "6,"

as recommended by Beebe, despite their knowledge that Treme struggled financially and that

Treme's businesses had suffered net losses the prior year. Additionally, BURI\ELL and Beebe

falsely stated "the loan contains normal credit risks." Further, BURNELL and               Beebe

recommended the loan's approval "due to [Treme's] good history with [the Bank]."

          41.   Similarly, in November 2016, to prevent Treme and his entities from appearing on

a past-due loan report,   BURIIELL, Ryan,    and Beebe caused an unsecured $70,000 loan to be

given to Treme. BURNELL approved the credit risk rating of "6," as recommended by Beebe,

despite   BURNELL    and Beebe's knowledge of Treme's poor financial status. The stated purpose

of the loan was "temporary working capital" and "permanent financing of real estate." Contrary to

the loan's stated purpose, BURNELL, Ryan, and Beebe fraudulently used approximately $64,000

in loan proceeds to pay Treme's loans.

                             Jeffrey Dunlap Loan Relationship

          42.   From in or around July 2009 through April2017, Jeffrey Dunlap was a customer at

the Bank. Dunlap owned Phoenix Civil Contractors ("Phoenix"), a construction company.

Beginning in or around March 2009, Ryan and Treme, through their business Wadsworth Estates,

contracted with Dunlap and his company Phoenix to do construction work to prepare Wadsworth

Estates for commercial development. Even though Ryan had a business relationship with Dunlap,

Ryan served as the loan officer for Dunlap and Phoenix.

          43.   Phoenix used its accounts receivable from Wadsworth Estates and other clients as

collateral for its borrowing. BURI\ELL knew that Ryan and Treme owned Wadsworth Estates.
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 BURNELL approved the credit risk rating on Dunlap's loans, even though the receivables in the

 loan documents listed Wadsworth Estates as an accounts receivable securing the Phoenix loans.

 BURNELL signed at least 38 loan documents that contained that information.

          44.        From in or around 2009 through late 2016, BURNELL and Ryan approved

 numerous loans, increases in loans, and credit extensions for Phoenix. Ryan knew that the loan

 proceeds were the primary source of Phoenix's payment of principal and interest. During this time,

 Phoenix's debt to the Bank continued to grow. Despite this, BURIIELL kept Phoenix's risk rating

 d"6," misrepresenting Phoenix's creditworthiness      and the risk of loss to the Bank from Phoenix's

 loans.

          45.        Records, documents, and other tangible objects, along with the testimony of

 competent witnesses, would be introduced at trial to prove the facts set forth above.

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